Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 1 of 8




                        EXHIBIT 9
                                      Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 2 of 8



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                          16                                     UNITED STATES DISTRICT COURT
                                                               NORTHERN DISTRICT OF CALIFORNIA
                          17                                          OAKLAND DIVISION
                          18       COALITION ON HOMELESSNESS, et al.,            CASE NO. 4:22-cv-05502-DMR
                          19                                  Plaintiffs.        DECLARATION OF ANDRINNA
                                              v.                                 MALONE IN SUPPORT OF THE
                          20
                                                                                 REPLY IN SUPPORT OF
                          21
                                   CITY AND COUNTY OF SAN FRANCISCO,             PLAINTIFFS’ MOTION FOR
                                   et. al.,                                      PRELIMINARY INJUNCTION
                          22                              Defendants.
                                                                                 Judge:        The Hon. Donna M. Ryu
                          23
                                                                                 Hearing Date: December 22, 2022
                          24                                                     Time:         1:00 p.m.
                                                                                 Place:        Courtroom 4 – 3rd Floor
                          25
                                                                                               1301 Clay Street
                          26                                                                   Oakland, CA 94612

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                                      Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 3 of 8



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     S A N F R A N C ISC O                                                                CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 4 of 8



                               1                            DECLARATION OF ANDRINNA MALONE

                               2        I, Andrinna Malone, hereby declare pursuant to 28 U.S.C. § 1746:
                               3          1.      All facts set forth in this declaration are based upon my personal knowledge, and,
                               4   if called upon to testify as to the truth of these facts, I could and would competently do so.
                               5          2.       I worked for the City of San Francisco in their Department of Public Works

                               6   (“DPW”) for eighteen years from 2003 to 2021—my entire professional career. I retired from

                               7   DPW in 2021. Throughout my career at DPW, my job was as a “laborer.” In this position, I

                               8   supervised street cleaning crews that interacted with unhoused individuals and were responsible

                               9   for cleaning in and around encampments.

                          10              3.      What I saw while working on encampment resolution crews—from the time I

                          11       started at DPW until I was moved off of encampment cleaning duties around late 2018 or early

                          12       2019—followed a regular pattern. It has stuck with me, and I am still working through the trauma

                          13       these observations caused me. I always tried to interact with unhoused individuals with

                          14       compassion and care. Eventually, I was moved to different tasks like graffiti cleanup and watering

                          15       trees because my way of dealing with unhoused individuals was different than my coworkers and

                          16       supervisors. Even after this, though, I was patently aware of the conduct DPW workers engaged

                          17       in and saw it day-to-day as I worked.

                          18              4.      I submit this declaration in support of Plaintiffs’ Motion for Preliminary

                          19       Injunction.

                          20       DPW Regularly Destroys Unhoused People’s Survival Belongings Without Notice

                          21              5.      Throughout my entire career at DPW—and especially in recent years—I

                          22       personally witnesses many incidents where DPW conducted sweeps without posting a written

                          23       notice in advance of a homelessness sweep. If there was a lot going on—like media coverage or

                          24       other political pressure—then DPW would post a notice before going to a site. Additionally, if

                          25       unhoused people at the location were political, meaning they knew their rights, we would try to

                          26       post a notice. On a daily basis, though, there was usually no warning that we would be coming.

                          27              6.      Although DPW employees are required to bag and tag items that they take from

                          28       unhoused individuals, this rule is rarely followed. I have seen many instances where DPW
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     S A N F R A N C ISC O                                                                                   CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 5 of 8



                               1   personnel made no effort at all to bag and tag property and would take unhoused people’s

                               2   belongings straight to the dump.

                               3          7.      If DPW workers are sent to collect homeless peoples’ belongings from a police

                               4   station, they are more likely to be kept, because they have already been logged by SFPD. But if

                               5   the unhoused person’s belongings are picked up off the street by DPW workers, they are usually

                               6   trashed regardless of what they are. That was true during my entire career up until I retired from

                               7   DPW in 2021.

                               8          8.      In the rare instance when I observed a DPW employee take and store homeless

                               9   peoples’ belongings by bagging and tagging them rather than immediately trashing them, it was

                          10       not the normal practice at DPW to leave written notice onsite after the property had been bagged

                          11       and tagged to inform the unhoused individual how to recover their property.

                          12              9.      Even when unhoused individuals’ belongings are taken to the DPW yard—which

                          13       is where they are supposed to be stored—I observed that the property was not often kept. DPW

                          14       street crews dump homeless people’s property into a cage at the yard without separating the

                          15       property out by individual—leaving it to the employees at the yard to sort through all of these

                          16       belongings and decide what was worthy of being kept. On multiple occasions where I was present,

                          17       even though an item looked to me like it should be stored, the DPW employees at the yard would

                          18       refuse to bag and tag the item. I witnessed this multiple times.

                          19              10.     I have seen DPW workers throw away entire tents, oftentimes because there was

                          20       not enough have time to go through people’s belongings to determine what was trash and what

                          21       was not. DPW workers sometimes received more than 50 service requests that needed to get done

                          22       in one day. Under that kind of time pressure, if people did not pack their belongings quickly

                          23       enough, DPW workers would consider everything trash because they did not have time to sort

                          24       through what should be bagged and tagged and what was actually trash.

                          25              11.     In order to speed up the process to clear encampments or conduct sweeps, and

                          26       under threat of not meeting all of their scheduled cleanings or removals for the day, DPW

                          27       employees would ask police officers to force people to move faster.

                          28              12.     In my experience and observation over the years, the vast majority of homeless
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     S A N F R A N C ISC O                                                                                 CASE NO. 4:22-CV-05502-DMR
                                       Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 6 of 8



                               1   peoples’ belongings that were discarded by DPW were personal, clean, and usable. I was trusted

                               2   in the unhoused community because I tried to treat people with respect to the greatest extent

                               3   possible. As a result, people would often come up to me and ask whether their property had been

                               4   bagged and tagged. I would go and check, but almost every single time, their property had not

                               5   been bagged and tagged. I would have to go back to them and inform them that their property had

                               6   not been bagged and tagged. There was no one to verify whether items were bagged and tagged,

                               7   and no one to hold our DPW employees accountable to follow the policy.

                               8           13.     During the years that I was responding directly to DPW requests for services at

                               9   homeless encampments, I would always try to bag and tag medications—but could really only do

                          10       so if they were readily visible. If a cart was neatly packed—with belongings nice and neat and

                          11       folded up—I would try and bag and tag that as well. But I was often in the minority.

                          12               14.     If I heard on the radio that there was a conflict between DPW workers and

                          13       unhoused people and I knew that area and the people staying there, I would often try to go to

                          14       deescalate the situation. Most of the time, I would get there and realize it was an instance of the

                          15       DPW employee destroying an unhoused person’s belongings while the unhoused person tried to

                          16       stand up for their rights.

                          17               15.     Sometimes, unhoused people would come to me before DPW crews even left the

                          18       area saying that their belongings were missing. For instance, one man had an electronic cart with

                          19       a large battery so that he could move his belongings quickly if DPW was coming. As we were

                          20       finishing cleaning, he told me, “I know my battery was just here. They stole my battery.” I went

                          21       over to the DPW truck and found a pile of batteries. I asked if the man saw his battery, and he

                          22       did, so I let him take it back.

                          23       The City Enforces Against People Without Sufficient Shelter.

                          24               16.     In my direct observation over the last several years before I retired in 2021, the

                          25       City often did not have shelter or resources to provide to individuals whose property DPW took

                          26       during our cleaning operations. Often, we would be the only department present—or us and

                          27       SFPD—so there was no one there to offer homeless people services. Nonetheless, I and other

                          28       DPW workers would be tasked with forcing people to move and taking their belongings.
                                                                                3
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     S A N F R A N C ISC O                                                                                 CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 7 of 8



                               1          17.     I knew that there were City teams that were tasked with going out and talking with

                               2   unhoused people to connect them with services. But at the end of the day, these City workers

                               3   would usually end up saying that they did not have shelter beds available for them. Oftentimes,

                               4   by the time there was something to offer—if there was something to offer— these individuals

                               5   had already been moved along and could not be found because they had been forced to move.

                               6   Attitudes of DPW Management

                               7          18.     The DPW management called the work we did a war. They pitted us against

                               8   them—them being the unhoused individuals we interacted with daily. This really bothered me. I

                               9   never understood why department leadership would call it a war, when we were not supposed to

                          10       be fighting unhoused people but rather helping them.

                          11              19.     Toward the end of my employment at DPW, one manager told me, “You’re a little

                          12       too compassionate. We’re at war with the homeless right now, so we want you to find some other

                          13       duties that you can do, other than street cleaning because we don’t want you out there right now,

                          14       because we’re at war.”

                          15              20.     It seemed like DPW’s leadership preferred if you did not care about the people

                          16       you were interacting with. I know that I was not promoted and was eventually moved off of street

                          17       cleaning duty because I spoke out too much. I would not be put in charge of supervising teams

                          18       because upper-level management knew that I would not take unhoused people’s possessions

                          19       without bagging and tagging them.

                          20       Reflections on the City’s Conduct

                          21              21.     I was deeply traumatized by my work at DPW. Often, while I was working there,

                          22       I would wonder where the individuals whose belongings DPW had taken earlier that day were

                          23       sleeping now. Often, DPW would leave them without even a blanket. Sometimes, management

                          24       would ask you to do wrong by someone, then send you back to the same area the next day to face

                          25       the person you had just taken everything from.

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                                      Case 4:22-cv-05502-DMR Document 50-9 Filed 12/01/22 Page 8 of 8



                               1           I have reviewed the information contained in this declaration. I declare under the
                                   penalties of perjury that the contents are true and correct to the best of my knowledge.
                               2
                                          Executed on: November 29, 2022
                               3
                                                                                         _________________
                               4
                                                                                         Andrinna Malone
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